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 Gomez Jeffrey

 From:                               MacDonald Allison
 Sent:                               Thursday, November 16, 2017 10:35 AM
 To:                                 Gomez Jeffrey
 Subject:                            QP.



 "J. Gomez and A. MacDonald met with Q.P.         and seven other 8th grade boys to discuss expectations around Title 9 and

 understanding the importance of all students feeling safe while at school. The group was also told that if we continue to hear

 things that we would be giving out consequences if we determine they are harassing this particular female student."



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         S.T.C.




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